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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MONIQUE WOODS,                                )
                                              )
                           Plaintiff,         )
                                              )
             v.                               )   No. 20 cv 01668
                                              )
CITY OF MARKHAM,                              )   Judge KOCORAS
                                              )
                           Defendant.         )

                         NOTICE OF CHANGE OF ADDRESS

      Plaintiff submits this Notice of Change of Address for transmission of all

documents in the above-captioned case. All future correspondence, service of

pleadings, and other documents submitted in hard copy should be directed to the

following address:

             Samuels & Associates, Ltd.
             3440 S. Cottage Grove Ave, #504
             Chicago, Illinois 60616
             T: 872.588.8726
             F: 872.813.5256

Dated: 2 July 2021                                Respectfully Submitted,


                                        By:       /s/Jeanette Samuels

                                                  SAMUELS & ASSOCIATES, LTD.
                                                  3440 S. Cottage Grove Ave, #504
                                                  Chicago, Illinois 60616
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    Case: 1:20-cv-01668 Document #: 28 Filed: 07/06/21 Page 2 of 2 PageID #:91




                             CERTIFICATE OF SERVICE
      The undersigned counsel swears on oath that a true and complete copy of the
foregoing was served on all counsel of record via the Court’s online electronic filing
system on 6 July 2021.
                                                              /s/ Jeanette Samuels
